Case 1:07-cv-01223-

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CIJUVENILE INVOLVEr| UNIFORM ARREST/BOOKING FORM Grid COS |
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Weapon: ‘ By Authorized By Name:
Defendants Rights Given By Date Time Place. Wilness(es) (7 Verbal
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Detention DateTime Officer {4 & Name} Property Phone CallMade [J Yes {J No Court Clerk Use Only
} # Called: Docket #: 277592
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venta Paes of Guardian Narne | Address Street / House Number City / State Telephone # Coataced By
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HARRISON COUNTY SHERIFF'S DEPARTMENT

GEORGE PAYNE, SHERIFF

IF uvenile Involved Harrison County Sheriff’ s Office Case tt
NARRATIVE FORM
X] Original Report - - _
Offense Supplement Incident /Crime: - | Date of This Report | Date of Original Report
["] custody Supplement Combative Detainee 10/04/05 - 10/04/05
[] RVR Supplement Suspect / Victim Name: List Complaint Numbers of Connected Cases
Alkhidhr Only Docket: .

On October 4", 2005 at about 0415 hours, Biloxi Police Officer Manning brought detainee
Only Alkhidhr into booking to be processed on several misdemeanor charges. Detainee Alkhidhe
appeared to be resistive and belligerent towards Officer Manning, but seemed to be cooperative
towards Booking Deputies. Deputy Windham performed a pat-down search of detainee Alkhidhe,
and then led him with Deputy Thompson to the booking shower to be dressed out. Upon entering
the shower, detainee Alkhidhr fell to the floor. Deputy Thompson ordered detainee Alkhidhr to
stand up and remove his clothing. Detainee Alkhidhr refused, and simply sat in an upright
position on the floor. Deputy Thompson again ordered detainee Alkhidhr to stand up. Detainee
Alkhidhr told Deputy Thompson, “No, you get me up". As Deputy Thompson began to order
detainee Alkhidhr to stand up again, he reached out and grabbed Deputy Thompson's inner upper
thigh. Deputy Thompson then struck detainee Alkhidhr in the Brachial Plexus Origin. Detainee

Alkhidhr then pushed Deputy Thompson back, and stood to his feet. Detainee Alkhidhr took a

’ Jow stance fighting style posture, and grabbed Deputy Thompson's left arm . Deputy Thompson
then struck detainee Alkhidhr two times in the Brachial Plexus Origin. Detainee Alkhidhr then
spun around and fell into the booking shower control handle while still holding on to Deputy
Thompson's arn, which pulled Deputy Thompson down on top of him. At this point Deputy Moore
administered an approximate one second burst of olearesin capsicum to detainee Alkhidhr's
Facial region, which had no effect. Detainee Alkhidhr continued to struggle in an effort to gain —
cohtrol over Deputy Thompson by attempting to rise on all fours to throw Deputy Thompson of f
of him. Deputy Thompson continued to gain control over detainee Alkhidhr’s arms as Deputy

Moore struck detainee Alkhidhr in the common peroneal nerve. Detainee Alkhidhr then lay flat

on the floor, and was secured in handcuffs. Detainee Alkhidhr was

Reporting Officer: 4"
No: 186 Name: Moore -

HCADC—Booking |No: Name:

DISPOSITION
screened by medical and treated for injuries. Detainee Alkhidhr A. Cleared Adult Arrest{”]
. : . +a B. Cleared Exceptional Adult{_]
then cooperated and dressed himself out in county clothing and was C. Cleared Juvenile Custody{ |
placed in holding cell five without further incident. End of D. Cleared Exceptional Tuverile[: ]
E. Unfounded C
Narrative F. Other-Cleared Exceptionall_]
G. Suspended Closed{_]
Division: Reviewing Supervisor Disposition Date

White = Records Canary = Agency Use Pink = Court/Detectives Gold = Shift Capt / Jail Page 01 of O1 ©
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Harrison County Adult Detention Center
George Payne, Sheriff
Use 6f Forte Report
Pressure Point Control Target Areas | Chemical Spray Target Area

fofce ocbitel Nerve (PP. ° ancibuies Angie (PP) :
Sogular nah (PP 5 4 Hypoginstal Herve (PP.)
Brachial Plexus (Chigin) {HEH}

va Brachial Plesoss (Clavical Notch}
(PB)

Radial Nepre (HEB, LW.)

Femoral Nerve {HEH £97]

= _. aw
Effects of Cheinical Spray
26) Was Spray Effective? Were Further Control Methods
Wiel Merve (HEH, LW) Needed?
CT Yes DANo [ves [No
Number of Times Sprayed: Approximate distance from subject:
Ql a_FT
; Eyes: . Skin:
¢ 1 [ic] closure [}tears [J] No effect | ["] Redness [] Burning [2 No effect
Nose: Chest: .
[_] Discharge {[] Ivitation JX] No effect | ["] Coughing {[JLabored Breathing
O.C. Spray administrative warning? Decontamination:
Qa 4 ~ - Start Time: L25
f¢] Yes [] No Time: &° SO End Time: ¥-: 30
° ‘ - Vanables affecting-levels of control tes

Pp.P. —Pressure point ”

HEH—Hard empty hand 1. Officer / subject size and gender *

LW. ---Impact Weapon . 2. Environmental conditions and totality of circumistances
3. Reaction time

This section to be completed by Medical staff only!

27) Injuries Sustained by officer:
4 Cl yes (X} No
Explain:

28)Anjuries Sustained by Inmate:
yes [_] No Explain: Lend ie moe, Stem bear to bridae f asrt., Cortusia te et, £. ke haabrrtos bn orn

29) Location of Examination: — Eros a Shh peer’ 30) Exatnined by:

Time of Examination: O4[6 Staff Name: CLL Cua) Badge #:
31) Medical treatment administered: t 32)Signature of Physician:
[Yes (] No

Explain: bea and © NS SLAG fiLh Bais i Lupo a tn Aone

33) Narrative:

34) Inmate Classification:
[] Juvenile [7] Minimum security [] Medium (] Maximum security [_] Inmate worker
| 36) Disposition:

35) Reviewing Shift Lieutenant Division: .
No. Name: {]Closed [ ]Open [| Underreview |

Inmate file _ Director of Corrections __ Captain of Security __ Inmate medical file__ Shift Records Officer file
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Booking Intake Medical Questionnaire

Officer Observations

1. Obvious pain / bleeding / injury requiring medical treatment / illness
2. Taken fo hospital prior to intake
3. Appears under the influence of alcohol /-drugs
4. Visible sign of alcohol / drug withdrawal
5. Difficulty understanding questions or spoken language
6. Experiencing / demonstrating / exhibiting signs of anger - hostility

depression ~ disorientation - lifeless reaction - hearing voices -
7. Have sears on wrists ~ legs - neck (possibly self - inflicted)

Inmate Questions

1. Have you ever had TB/Seizures/Diabetes/Hypertension/Heart Disease/Cancer/Asthma
2. Physical disability .
3. Mental health problem
4. Allergies
5, Suicidal ideas or attemprett siicidé
6. Prescriptions or medications with inmate

2

PLEASE CALL MEDICAL IF ANY OF THE ABOVE ANSWERS ARE "YES"

Date: JO OY OS
Inmate Name (print): tt [ kh Lek hg Cry. le

Q) |
Inmate signature nil) — é fo~
Y 2.

. Ne

Officer Signature: Ap Badge #_ LCL

This form is to be stapled to the current printed booking screen for pickup by medical
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HesltH ASSURANCE LLC

CONSENT TO TREATMENT FORM

LE -4-os57

, (~ DATE

NAME OF INMATE
P?ISIQ— FF -_ eT oe

| INMATE #/DOB

I hereby give my consent to Health Assurance LLC, its employess and agents

to perform any diagnostic laboratory procedures, examinations, x-rays, oral or

injected medications or other procedures recommended by the physician.

Jam aware the practice of medicine is not an exact science and I
acknowledge no guarantees have been imade regarding the result of treatments or

examinations performed by Health Assurance LLC.

L also authorize the transfer of ny medical records or copies of said records

j to.any facility to which I am referred for treatment or to any other corréctional

»

facility to wliich I am transferred.

'

I understand I may withdraw.this. consent to an

refusing the treatment or test.

I sign this willingly im full understanding of the above and release Health
Assurance LLC, its employees and agents from any and all liability which-may arise

from this action, . ey

y. specific treatment. by... ...}..

_f0- 4-257 . ]

DATE —

WITNESS

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PROBLEM LIST sae Adklad ie, Qa

wa__ 4775 72
D.O.B. 4-4-5 |

ALLERGIES _ WK D4

- { HEALTH CARE
‘| PRACTIONER
ENTTIALS

DATE
: RESOLVED

[ DATE CHRONIC (LONG-TERM) PROBLEMS
IDENTIFIED ROMAN NUMERALS FOR MEDICAL/SURGICAL
CAPITAL LETTERS FOR PSYCHIATRIC/BEHAVIORAL

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(PECTION:
PLAN (1) ASSESS B TED ON SICK CALL

(2) INCREASE FLUIDS
(3) TYLENOL OR IBUPROFEN FOR HIGH TEMP
(4) ROBITUSSIN Did 1 OR 2 TEASPOON 4-6 ARS FOR COUGH

(5) OTHER NEEDS AS ORDERED BY RMD -

Hf UPPER RESPIRATORY

IV ATALETES FOOT FUNGUS Se _
PLAN ANTIFUNGAL CREAM TO FEET B. A [4 DAYS

Vv TINEA VERSTCOLOR
PLAN () SELSTUM LOTION TO SEIN DAILY X id DAYS

IMENTAL ILLNESS: (ANDEPRESSION @) SCHIZOPHRENTA (C) MANTA AND’ Di SUICIDAL be

PLAN (1) CONSULT STAFF PSYCHOLOGIST FOR EVAL.
Q) ISOLATE AND SUICIDE PRECAUTIONS Lf IND! (CATED

@ fEDICATT ONS As C ORDERED BY MD

I. DIABETES J MELLITUS

PLAN (1) ASSESS BY MD INSICE CALL

(Q) 2600 CALORIRS ADA DIET

~ TRIDDM-OR-1800 CLLORIES ADA DIRT If NIDDM
TNGAND AT 4 ds O00 £44,

(3) IR IDDM, FBS EVERY MORNING
FBS EVERY MONTH IF STABLE FOR NIDDM

(8 IZEDS AS ORDERED BY MD oo, ae
HYPERTENSION oe a
EVARE WEEK :

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PLAN (1) BP CHECK:
() MEDS AS ORDERED BVIED . a
Ot LOW SODIUid DIET TF ORDERED BY MD Bo
23. SRIZURE
4. HIV

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| Heaney ASSURANCE LLC

NURSES NOTES

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